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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

       Plaintiff,


v.                                                           Case No. 07-CR-10034-01-JTM
                                                                  No. 16-CV-1179-JTM
ACE A. ALDERSHOF,

       Defendant.


                       MEMORANDUM AND ORDER ALTERING
                    JUDGMENT ON MOTION TO VACATE SENTENCE

       On August 17, 2016, the court issued an order denying Ace Aldershof’s motion to vacate

his sentence pursuant to 28 U.S.C. § 2255 (Dkt. 131) with a corresponding judgment dismissing

the civil case (Dkt. 1). The court found the motion moot because even if the court resentenced

defendant without treating him as a career offender, his guideline range was the same (188 to

235 months), based on a criminal history category of VI and an offense level of 31 under

U.S.S.G. § 2D1.1(c)(3). This, however, is incorrect. Accordingly, the court will alter its order sua

sponte. D.L. v. Unified Sch. Dist. #497, Case No. 00-2439-CM, 2002 WL 31296445 at *2 (D.

Kan. Oct. 1, 2002) (the Tenth Circuit recognizes that a district court may alter or amend one of

its orders sua sponte pursuant to Federal Rule of Civil Procedure 59(e), if the court acts within 10

(now 28) days of the entry of judgment).

       At first glance, the Government’s response appears correct that any Johnson error was

harmless, because defendant’s guideline range would have been the same at sentencing with or

without the § 4B1.1 career offender enhancement. But although that was true at the time of



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sentencing, it no longer appears to be the case. Amendment 782 to the guidelines reduced the

base offense levels assigned to drug quantities in § 2D1.1, effectively lowering the guidelines for

some drug offenses. See U.S.S.G., Suppl. to app. C, amend. 782 (U.S. Sentencing Comm’n

2014). The amendment became effective November 1, 2014, and applies retroactively. The catch

is that the amendment has no impact on a sentence that was based on the career-offender

provision under § 4B1.1. See United States v. Parker, 2016 WL 1459518, *2 (10th Cir. 2016).

As such, the Johnson issue might have an effect on the defendant’s entitlement to a sentence

reduction under 18 U.S.C. § 3582(c)(2).

       Defendant’s case involved 302.373 grams of actual methamphetamine. The base offense

level for that quantity is now 32, U.S.S.G. § 2D1.1(c)(4), and with a three level reduction for

acceptance of responsibility, the total offense level would be 29. That coupled with a criminal

history category of VI would result in a guideline range of 151 to 188. Because defendant’s

original sentence fell below the then-applicable guideline range due to a government-filed

substantial assistance motion under U.S.S.G. § 5K1.1, the court could reduce his sentence under

§ 3582(c)(2) below the amended Guidelines range by a comparable number of months. United

States v. Kurtz, 819 F.3d 1230, 1234 (10th Cir. 2016)

       But eligibility under that provision depends in the first instance upon Johnson applying

retroactively to the guidelines – the question the Supreme Court will decide in Beckles. Because

the Supreme Court will likely provide a definitive answer to the Johnson issue, the court

concludes it is in the interest of judicial economy to stay the defendant’s motion until the

Supreme Court issues a ruling in Beckles.




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       IT IS THEREFORE ORDERED this 1st day of September, 2016, that further action on

defendant’s Motion to Vacate under § 2255 (Dkt. 121) is hereby STAYED pending a decision by

the U.S. Supreme Court in Beckles v. United States, Docket No. 15-8544 (June 27, 2016).

       IT IS FURTHER ORDERED that the orders entered on August 17, 2016 are

VACATED.



                                                  s/ J. Thomas Marten
                                                  J. THOMAS MARTEN, Judge




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